         Case 2:14-cv-03196-JMA-ARL Document 18-2 Filed 08/24/16 Page 1 of 1 PageID #: 67


Santiago, Jose
From:                          Santiago, Jose
Sent:                          Friday, June 10, 2016 5:31 PM
To:                            Keith R. Thorell
Cc:                            'warren mangan'
Subject:                       Herdica et al. v. Southern WIne & Spirits of America, Inc. et al [ALCBL-iManage.FID188049]
Attachments:                   Notice of Deposition COGNETTA - Herdocia.PDF; Notice of Deposition MARGOLIS-
                               Herdocia.PDF; Notice of Deposition SUAREZ- Herdocia.PDF; Notice of Deposition
                               WILKINSON - Herdocia.PDF; PL 3rd Doc Req to Def Southern - Herdicia.PDF


Good afternoon, gentlemen.

Attached please find the following documents:

    1.    Plaintiff’s Third Document Request to Defendant Southern Wine & Spirits of America, Inc.;
    2.    Second Notice of Deposition – Maria Suarez;
    3.    Second Notice of Deposition – Dina Wald-Margolis;
    4.    Second Notice of Deposition – Frank Cognetta; and
    5.    Second Notice of Deposition – John Wilkonson.

Please note that a hard copy will follow via regular mail as well.


Kind regards,

Jose G. Santiago, Esq.




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